              Case 19-21802-KCF                    Doc 1        Filed 06/13/19 Entered 06/13/19 11:12:10                                 Desc Main
                                                                Document     Page 1 of 66
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Christopher                                                      Beth
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        B.                                                               K.
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Allen                                                            Allen
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-2413                                                      xxx-xx-8010
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
              Case 19-21802-KCF                  Doc 1       Filed 06/13/19 Entered 06/13/19 11:12:10                              Desc Main
                                                             Document     Page 2 of 66
Debtor 1   Christopher B. Allen
Debtor 2   Beth K. Allen                                                                              Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 5 Ocean Avenue
                                 Highlands, NJ 07732
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Monmouth
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
              Case 19-21802-KCF                  Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                              Desc Main
                                                                Document     Page 3 of 66
Debtor 1    Christopher B. Allen
Debtor 2    Beth K. Allen                                                                                 Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
              Case 19-21802-KCF                  Doc 1         Filed 06/13/19 Entered 06/13/19 11:12:10                             Desc Main
                                                               Document     Page 4 of 66
Debtor 1    Christopher B. Allen
Debtor 2    Beth K. Allen                                                                                  Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
              Case 19-21802-KCF                    Doc 1        Filed 06/13/19 Entered 06/13/19 11:12:10                            Desc Main
                                                                Document     Page 5 of 66
Debtor 1    Christopher B. Allen
Debtor 2    Beth K. Allen                                                                              Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
              Case 19-21802-KCF                 Doc 1        Filed 06/13/19 Entered 06/13/19 11:12:10                                    Desc Main
                                                             Document     Page 6 of 66
Debtor 1    Christopher B. Allen
Debtor 2    Beth K. Allen                                                                                 Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Christopher B. Allen                                          /s/ Beth K. Allen
                                 Christopher B. Allen                                              Beth K. Allen
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     June 13, 2019                                     Executed on     June 13, 2019
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
             Case 19-21802-KCF                     Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                           Desc Main
                                                                  Document     Page 7 of 66
Debtor 1   Christopher B. Allen
Debtor 2   Beth K. Allen                                                                                  Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Jonathan Goldsmith Cohen                                       Date         June 13, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Jonathan Goldsmith Cohen
                                Printed name

                                I. Mark Cohen Law Group
                                Firm name

                                1 Executive Drive
                                Suite 6
                                Tinton Falls, NJ 07701
                                Number, Street, City, State & ZIP Code

                                Contact phone     732-741-9500                               Email address         jgc@imclawgroup.com

                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
              Case 19-21802-KCF                            Doc 1           Filed 06/13/19 Entered 06/13/19 11:12:10                                               Desc Main
                                                                           Document     Page 8 of 66
 Fill in this information to identify your case:

 Debtor 1                   Christopher B. Allen
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Beth K. Allen
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             319,500.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              44,200.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             363,700.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             484,189.49

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                1,000.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             213,167.43


                                                                                                                                     Your total liabilities $               698,356.92


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                4,310.21

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                7,767.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1         Filed 06/13/19 Entered 06/13/19 11:12:10                           Desc Main
                                                                     Document     Page 9 of 66
 Debtor 1      Christopher B. Allen
 Debtor 2      Beth K. Allen                                                              Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $            7,664.69


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              1,000.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 1,000.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
               Case 19-21802-KCF                                Doc 1           Filed 06/13/19 Entered 06/13/19 11:12:10                                    Desc Main
                                                                               Document      Page 10 of 66
 Fill in this information to identify your case and this filing:

 Debtor 1                    Christopher B. Allen
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Beth K. Allen
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF NEW JERSEY

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        5 Ocean Avenue                                                                 Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Highlands                         NJ        07732-0000                         Land                                       entire property?           portion you own?
        City                              State              ZIP Code                  Investment property                               $319,500.00                $319,500.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        Monmouth                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Purchased in 2005 for [insert]

                                                                                Market value based on certified appraisal of $355,000.00

                                                                                Equity Analysis:
                                                                                Property Value: $355,000.00
                                                                                10% Cost of Sale: $35,500.00
                                                                                =$319,500.00
                                                                                Mortgage: ($189,396.00)
                                                                                2nd Mortgage: ($140,000.00)
                                                                                Equity: ($9,896.00)


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $319,500.00

 Part 2: Describe Your Vehicles



Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
              Case 19-21802-KCF                        Doc 1           Filed 06/13/19 Entered 06/13/19 11:12:10                                      Desc Main
                                                                      Document      Page 11 of 66
 Debtor 1        Christopher B. Allen
 Debtor 2        Beth K. Allen                                                                                      Case number (if known)

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Toyota                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Camry Hybrid                                    Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2007                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
         Approximate mileage:                 190000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $2,350.00                  $2,350.00
                                                                     (see instructions)



  3.2    Make:       Ford                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      F250                                            Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2010                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
         Approximate mileage:                 130000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                              $13,850.00                 $13,850.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:                                                 Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:                                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:                                                       Debtor 2 only
                                                                                                                              Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Jetski. Given to debtor's by                                Check if this is community property                                    $0.00                        $0.00
         neighbor.                                                   (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $16,200.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Miscelaneous used household goods and furnishings.                                                                            $20,000.00




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
             Case 19-21802-KCF                                     Doc 1             Filed 06/13/19 Entered 06/13/19 11:12:10                          Desc Main
                                                                                    Document      Page 12 of 66
 Debtor 1         Christopher B. Allen
 Debtor 2         Beth K. Allen                                                                                               Case number (if known)

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Miscelaneous used clothing                                                                                              $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                        $21,000.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash                                     $0.00



Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                         Desc Main
                                                                     Document      Page 13 of 66
 Debtor 1         Christopher B. Allen
 Debtor 2         Beth K. Allen                                                                               Case number (if known)

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                      17.1.    Checking                     Valley National Bank                                                       $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                 Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                             % of ownership:

                                         Mother Nature's Beauty, LLC Debtor 2 makes
                                         handemade soaps and bodylotions.                                                        %               $1,000.00


                                         Dele Music and Sound, LLC. Debtor 1 sets up
                                         audio equipment for small concerts and events.

                                         Bose sound equipment. 1 saxophone. 3
                                         microphones, miscelaneous cables.                                                       %               $2,000.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                            Institution name:

                                      401(k)                                :                                                                    Unknown


                                      IRA                                   Chase                                                                $4,000.00


                                      401(k)                                :                                                                    Unknown


                                      Pension                               United Airlines                                                      Unknown


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:



Official Form 106A/B                                                   Schedule A/B: Property                                                          page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                       Desc Main
                                                                     Document      Page 14 of 66
 Debtor 1        Christopher B. Allen
 Debtor 2        Beth K. Allen                                                                           Case number (if known)

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                          Surrender or refund
                                                                                                                                      value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........


Official Form 106A/B                                                   Schedule A/B: Property                                                           page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
             Case 19-21802-KCF                                Doc 1           Filed 06/13/19 Entered 06/13/19 11:12:10                                               Desc Main
                                                                             Document      Page 15 of 66
 Debtor 1         Christopher B. Allen
 Debtor 2         Beth K. Allen                                                                                                         Case number (if known)

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................               $7,000.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $319,500.00
 56. Part 2: Total vehicles, line 5                                                                           $16,200.00
 57. Part 3: Total personal and household items, line 15                                                      $21,000.00
 58. Part 4: Total financial assets, line 36                                                                   $7,000.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $44,200.00              Copy personal property total           $44,200.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $363,700.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
              Case 19-21802-KCF                        Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                            Desc Main
                                                                     Document      Page 16 of 66
 Fill in this information to identify your case:

 Debtor 1                Christopher B. Allen
                         First Name                         Middle Name                 Last Name

 Debtor 2                Beth K. Allen
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      5 Ocean Avenue Highlands, NJ 07732                             $319,500.00                                      $0.00    11 U.S.C. § 522(d)(1)
      Monmouth County
      Purchased in 2005 for [insert]                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit
      Market value based on certified
      appraisal of $355,000.00

      Equity Analysis:
      Property Value: $355,000.00
      10% Cost of Sale: $35,500.00
      =$319,500.00
      Mortgage: ($189,39
      Line from Schedule A/B: 1.1

      2007 Toyota Camry Hybrid 190000                                  $2,350.00                                 $2,350.00     11 U.S.C. § 522(d)(2)
      miles
      Line from Schedule A/B: 3.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2010 Ford F250 130000 miles                                     $13,850.00                                      $0.00    11 U.S.C. § 522(d)(2)
      Line from Schedule A/B: 3.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                               Desc Main
                                                                     Document      Page 17 of 66
 Debtor 1    Christopher B. Allen
 Debtor 2    Beth K. Allen                                                                               Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Miscelaneous used household goods                                $20,000.00                               $20,000.00         11 U.S.C. § 522(d)(3)
     and furnishings.
     Line from Schedule A/B: 6.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Miscelaneous used clothing                                        $1,000.00                                 $1,000.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                   $0.00                                     $0.00       11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Valley National Bank                                         $0.00                                     $0.00       11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Mother Nature's Beauty, LLC Debtor                                $1,000.00                                 $1,000.00        11 U.S.C. § 522(d)(6)
     2 makes handemade soaps and
     bodylotions.                                                                          100% of fair market value, up to
     Line from Schedule A/B: 19.1                                                          any applicable statutory limit

     Dele Music and Sound, LLC. Debtor 1                               $2,000.00                                 $2,000.00        11 U.S.C. § 522(d)(6)
     sets up audio equipment for small
     concerts and events.                                                                  100% of fair market value, up to
                                                                                           any applicable statutory limit
     Bose sound equipment. 1
     saxophone. 3 microphones,
     miscelaneous cables.
     Line from Schedule A/B: 19.2

     401(k): :                                                        Unknown                                         $0.00       11 U.S.C. § 522(d)(12)
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: Chase                                                        $4,000.00                                 $4,000.00        11 U.S.C. § 522(d)(12)
     Line from Schedule A/B: 21.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k): :                                                        Unknown                                         $0.00       11 U.S.C. § 522(d)(12)
     Line from Schedule A/B: 21.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Pension: United Airlines                                         Unknown                                         $0.00       11 U.S.C. § 522(d)(10)(E)
     Line from Schedule A/B: 21.4
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10            Desc Main
                                                                     Document      Page 18 of 66
 Debtor 1    Christopher B. Allen
 Debtor 2    Beth K. Allen                                                                     Case number (if known)

 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                 page 3 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
              Case 19-21802-KCF                        Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                                    Desc Main
                                                                     Document      Page 19 of 66
 Fill in this information to identify your case:

 Debtor 1                   Christopher B. Allen
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Beth K. Allen
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Oceanfirst Bank Na                       Describe the property that secures the claim:               $189,396.00               $319,500.00                     $0.00
         Creditor's Name                          5 Ocean Avenue Highlands, NJ
                                                  07732 Monmouth County
                                                  Purchased in 2005 for [insert]

                                                  Market value based on certified
                                                  appraisal of $355,000.00

                                                  Equity Analysis:
                                                  Property Value: $355,000.00
                                                  10% Cost of Sale: $35,500.00
                                                  =$319,500.00
                                                  Mo
                                                  As of the date you file, the claim is: Check all that
         975 Hooper Ave                           apply.
         Toms River, NJ 08753                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

                                 Opened
                                 05/05 Last
 Date debt was incurred          Active 12/18              Last 4 digits of account number        9375




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
             Case 19-21802-KCF                           Doc 1           Filed 06/13/19 Entered 06/13/19 11:12:10                             Desc Main
                                                                        Document      Page 20 of 66
 Debtor 1 Christopher B. Allen                                                                                Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Beth K. Allen
               First Name                  Middle Name                      Last Name


 2.2     SBA Loan (insert                           Describe the property that secures the claim:                   $140,000.00        $319,500.00       $9,896.00
         Creditor's Name                            5 Ocean Avenue Highlands, NJ
                                                    07732 Monmouth County
                                                    Purchased in 2005 for [insert]

                                                    Market value based on certified
                                                    appraisal of $355,000.00

                                                    Equity Analysis:
                                                    Property Value: $355,000.00
                                                    10% Cost of Sale: $35,500.00
                                                    =$319,500.00
                                                    Mo
                                                    As of the date you file, the claim is: Check all that
                                                    apply.
                                                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         Small Business
 2.3                                                                                                                $135,915.49              $0.00             $0.00
         Association                                Describe the property that secures the claim:
         Creditor's Name


         2 North 20th St., Suite
                                                    As of the date you file, the claim is: Check all that
         320                                        apply.
         Birmingham, AL 35203                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         5008




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
             Case 19-21802-KCF                           Doc 1           Filed 06/13/19 Entered 06/13/19 11:12:10                                           Desc Main
                                                                        Document      Page 21 of 66
 Debtor 1 Christopher B. Allen                                                                                Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Beth K. Allen
               First Name                  Middle Name                      Last Name


         Wells Fargo Dealer
 2.4                                                                                                                 $18,878.00                 $13,850.00                  $0.00
         Services                                   Describe the property that secures the claim:
         Creditor's Name                            2010 Ford F250 130000 miles

         Attn: Bankruptcy
                                                    As of the date you file, the claim is: Check all that
         Po Box 19657                               apply.
         Irvine, CA 92623                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
                                 05/15 Last
 Date debt was incurred          Active 12/18                Last 4 digits of account number         5262



   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $484,189.49
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $484,189.49

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.4
          Wells Fargo Dealer Services
          Po Box 1697                                                                                 Last 4 digits of account number
          Winterville, NC 28590




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 3 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
               Case 19-21802-KCF                        Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                                           Desc Main
                                                                      Document      Page 22 of 66
 Fill in this information to identify your case:

 Debtor 1                     Christopher B. Allen
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Beth K. Allen
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
 2.1          Internal Revenue Service                               Last 4 digits of account number                          $1,000.00                   $0.00             $1,000.00
              Priority Creditor's Name
              P.O. Box 7346                                          When was the debt incurred?           2016
              Philadelphia, PA 19101-7346
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Back Taxes

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                              41216                                                Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                                          Desc Main
                                                                     Document      Page 23 of 66
 Debtor 1 Christopher B. Allen
 Debtor 2 Beth K. Allen                                                                                  Case number (if known)

 4.1      Bank Of America                                            Last 4 digits of account number       9661                                                $29,559.00
          Nonpriority Creditor's Name
          4909 Savarese Circle                                                                             Opened 02/02 Last Active
          Fl1-908-01-50                                              When was the debt incurred?           11/18
          Tampa, FL 33634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.2      Bank Of America                                            Last 4 digits of account number       6736                                                  $5,766.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 11/00 Last Active
          Po Box 982238                                              When was the debt incurred?           11/18
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.3      Capital One                                                Last 4 digits of account number       5428                                                $21,476.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 09/04 Last Active
          Po Box 30285                                               When was the debt incurred?           10/18
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                                          Desc Main
                                                                     Document      Page 24 of 66
 Debtor 1 Christopher B. Allen
 Debtor 2 Beth K. Allen                                                                                  Case number (if known)

 4.4      Chase Card Services                                        Last 4 digits of account number       6620                                                $25,537.00
          Nonpriority Creditor's Name
          Correspondence Dept                                                                              Opened 09/13 Last Active
          Po Box 15298                                               When was the debt incurred?           10/18
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.5      Chase Card Services                                        Last 4 digits of account number       0875                                                $24,748.00
          Nonpriority Creditor's Name
          Correspondence Dept                                                                              Opened 02/01 Last Active
          Po Box 15298                                               When was the debt incurred?           11/18
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.6      Chase Card Services                                        Last 4 digits of account number       1890                                                $10,773.00
          Nonpriority Creditor's Name
          Correspondence Dept                                                                              Opened 05/15 Last Active
          Po Box 15298                                               When was the debt incurred?           11/18
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 3 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                                          Desc Main
                                                                     Document      Page 25 of 66
 Debtor 1 Christopher B. Allen
 Debtor 2 Beth K. Allen                                                                                  Case number (if known)

 4.7      Chase Card Services                                        Last 4 digits of account number       2259                                                     $732.00
          Nonpriority Creditor's Name
          Correspondence Dept                                                                              Opened 12/15 Last Active
          Po Box 15298                                               When was the debt incurred?           10/18
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.8      Chexsystems, Inc.                                          Last 4 digits of account number                                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Customer Relations                                   When was the debt incurred?
          7805 Hudson Road, Suite 100
          Woodbury, MN 55125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.9      Citibank/Best Buy                                          Last 4 digits of account number       5057                                                     $211.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 12/14 Last Active
          Po Box 790441                                              When was the debt incurred?           11/18
          St. Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 4 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                                          Desc Main
                                                                     Document      Page 26 of 66
 Debtor 1 Christopher B. Allen
 Debtor 2 Beth K. Allen                                                                                  Case number (if known)

 4.1
 0        Citibank/The Home Depot                                    Last 4 digits of account number       4268                                                  $5,079.00
          Nonpriority Creditor's Name
          Attn: Recovery/Centralized                                                                       Opened 09/16 Last Active
          Bankruptcy                                                 When was the debt incurred?           09/18
          Po Box 790034
          St Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.1
 1        Citicards Cbna                                             Last 4 digits of account number       0235                                                $27,202.00
          Nonpriority Creditor's Name
          Citi Bank                                                                                        Opened 08/88 Last Active
          Po Box 6077                                                When was the debt incurred?           08/18
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 2        Citicards Cbna                                             Last 4 digits of account number       3732                                                $24,343.00
          Nonpriority Creditor's Name
          Citi Bank                                                                                        Opened 09/96 Last Active
          Po Box 6077                                                When was the debt incurred?           9/01/18
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 5 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                                          Desc Main
                                                                     Document      Page 27 of 66
 Debtor 1 Christopher B. Allen
 Debtor 2 Beth K. Allen                                                                                  Case number (if known)

 4.1
 3        Comenity Bank/Lane Bryant                                  Last 4 digits of account number       2792                                                     $217.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 01/06 Last Active
          Po Box 182125                                              When was the debt incurred?           11/18
          Columbus, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.1
 4        Discover Financial                                         Last 4 digits of account number       5252                                                $15,498.00
          Nonpriority Creditor's Name
                                                                                                           Opened 01/06 Last Active
          Po Box 3025                                                When was the debt incurred?           09/18
          New Albany, OH 43054
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 5        Discover Financial                                         Last 4 digits of account number       2865                                                  $4,091.00
          Nonpriority Creditor's Name
                                                                                                           Opened 07/09 Last Active
          Po Box 3025                                                When was the debt incurred?           10/18
          New Albany, OH 43054
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 6 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                                          Desc Main
                                                                     Document      Page 28 of 66
 Debtor 1 Christopher B. Allen
 Debtor 2 Beth K. Allen                                                                                  Case number (if known)

 4.1
 6        Elan Financial Service                                     Last 4 digits of account number       2296                                                  $8,917.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 08/15 Last Active
          4801 Frederica Street                                      When was the debt incurred?           11/18
          Owensboro, KY 42301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 7        Equifax                                                    Last 4 digits of account number                                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 740241                                              When was the debt incurred?
          Atlanta, GA 30374
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.1
 8        Jersey Shore Endodontics                                   Last 4 digits of account number       0149                                                     $306.40
          Nonpriority Creditor's Name
          1300 Route 35                                              When was the debt incurred?
          Plaza One
          Asbury Park, NJ 07712
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Account Balance




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 7 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                                          Desc Main
                                                                     Document      Page 29 of 66
 Debtor 1 Christopher B. Allen
 Debtor 2 Beth K. Allen                                                                                  Case number (if known)

 4.1      Laparscopic Specialty Surgical
 9        Assoc.                                                     Last 4 digits of account number       4900                                                     $145.00
          Nonpriority Creditor's Name
          10 Industrial Way East                                     When was the debt incurred?           05.25.18
          Suite 104
          Eatontown, NJ 07724-3332
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card Purchases


 4.2
 0        Monmouth Medical Center                                    Last 4 digits of account number       3842                                                     $752.57
          Nonpriority Creditor's Name
          300 Second Avenue                                          When was the debt incurred?
          Long Branch, NJ 07740
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Debt


 4.2
 1        Monmouth Medical Center                                    Last 4 digits of account number       3842                                                  $1,052.57
          Nonpriority Creditor's Name
          Payment Processinf Center                                  When was the debt incurred?
          P.O. Box 29962
          New York, NY 10087
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 8 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                                          Desc Main
                                                                     Document      Page 30 of 66
 Debtor 1 Christopher B. Allen
 Debtor 2 Beth K. Allen                                                                                  Case number (if known)

 4.2
 2        Quest Diagnostics                                          Last 4 digits of account number       7990                                                      $14.89
          Nonpriority Creditor's Name
          P.O. Box 7308                                              When was the debt incurred?           06.02.18
          Hollister, MO 65673-7308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical debt


 4.2
 3        Syncb/hdceap                                               Last 4 digits of account number       1005                                                     $538.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 02/18 Last Active
          Po Box 965060                                              When was the debt incurred?           10/18
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.2
 4        Synchrony Bank/Care Credit                                 Last 4 digits of account number       4044                                                  $2,848.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                                                            Opened 09/14 Last Active
          Po Box 965061                                              When was the debt incurred?           10/08/18
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 9 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                                          Desc Main
                                                                     Document      Page 31 of 66
 Debtor 1 Christopher B. Allen
 Debtor 2 Beth K. Allen                                                                                  Case number (if known)

 4.2
 5        Synchrony Bank/Care Credit                                 Last 4 digits of account number       6848                                                  $1,725.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                                                            Opened 12/14 Last Active
          Po Box 965061                                              When was the debt incurred?           10/09/18
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.2
 6        Trans Union Corporation                                    Last 4 digits of account number                                                                   $0.00
          Nonpriority Creditor's Name
          Public Records Department                                  When was the debt incurred?
          555 West Adams St.
          Chicago, IL 60661
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.2
 7        US Bank/RMS CC                                             Last 4 digits of account number       0001                                                     $628.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 02/12 Last Active
          Po Box 5229                                                When was the debt incurred?           11/18
          Cincinnati, OH 45201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 10 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                                          Desc Main
                                                                     Document      Page 32 of 66
 Debtor 1 Christopher B. Allen
 Debtor 2 Beth K. Allen                                                                                  Case number (if known)

 4.2       Visa Dept Store National
 8         Bank/Macy's                                               Last 4 digits of account number       1369                                                     $1,008.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                                                                Opened 10/09 Last Active
           Po Box 8053                                               When was the debt incurred?           01/19
           Mason, OH 45040
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank Of America                                               Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Po Box 982238                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank Of America                                               Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Po Box 982238                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Po Box 30281                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Card Services                                           Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.o. Box 15298                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Card Services                                           Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.o. Box 15298                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Card Services                                           Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.o. Box 15298                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Card Services                                           Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.o. Box 15298                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 11 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                                        Desc Main
                                                                     Document      Page 33 of 66
 Debtor 1 Christopher B. Allen
 Debtor 2 Beth K. Allen                                                                                  Case number (if known)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citibank/Best Buy                                             Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Po Box 6497                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Sioux Falls, SD 57117
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citibank/The Home Depot                                       Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 6497                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Sioux Falls, SD 57117
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citicards Cbna                                                Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 6217                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Sioux Falls, SD 57117
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citicards Cbna                                                Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 6217                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Sioux Falls, SD 57117
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Comenity Bank/Lane Bryant                                     Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 182789                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43218
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit Control LLC                                            Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 31179                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Tampa, FL 33631
                                                               Last 4 digits of account number                  8927

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover Bank                                                 Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6500 New Albany Rd.                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 New Albany, OH 43054
                                                               Last 4 digits of account number                  2865

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover Financial                                            Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Pob 15316                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover Financial                                            Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Pob 15316                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Elan Financial Service                                        Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Cb Disputes                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Louis, MO 63166
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Radius Global Solutions                                       Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 390905                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Minneapolis, MN 55439
                                                               Last 4 digits of account number                  5057

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 syncb/hdc                                                     Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 12 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                                        Desc Main
                                                                     Document      Page 34 of 66
 Debtor 1 Christopher B. Allen
 Debtor 2 Beth K. Allen                                                                                  Case number (if known)

 PO Box 129                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Linden, MI 48451
                                                               Last 4 digits of account number                    1005

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Syncb/hdceap                                                  Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 C/o Po Box 965036                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Care Credit                                    Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 C/o Po Box 965036                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Care Credit                                    Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 C/o Po Box 965036                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Bank/RMS CC                                                Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4325 17th Ave S                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Fargo, ND 58125
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Visa Dept Store National                                      Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Bank/Macy's                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 8218
 Mason, OH 45040
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                     1,000.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                     1,000.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                  213,167.43

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  213,167.43




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 13 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
               Case 19-21802-KCF                        Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                         Desc Main
                                                                      Document      Page 35 of 66
 Fill in this information to identify your case:

 Debtor 1                  Christopher B. Allen
                           First Name                         Middle Name              Last Name

 Debtor 2                  Beth K. Allen
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
              Case 19-21802-KCF                           Doc 1           Filed 06/13/19 Entered 06/13/19 11:12:10              Desc Main
                                                                         Document      Page 36 of 66
 Fill in this information to identify your case:

 Debtor 1                   Christopher B. Allen
                            First Name                            Middle Name         Last Name

 Debtor 2                   Beth K. Allen
 (Spouse if, filing)        First Name                            Middle Name         Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                     Check if this is an
                                                                                                                                amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                        Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




    3.2                                                                                                 Schedule D, line
                Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




Official Form 106H                                                                Schedule H: Your Codebtors                                 Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
             Case 19-21802-KCF                    Doc 1     Filed 06/13/19 Entered 06/13/19 11:12:10                             Desc Main
                                                           Document      Page 37 of 66


Fill in this information to identify your case:

Debtor 1                      Christopher B. Allen

Debtor 2                      Beth K. Allen
(Spouse, if filing)

United States Bankruptcy Court for the:        DISTRICT OF NEW JERSEY

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with            Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                              Occupation           FLight Attendant                           Self-Employed
       Include part-time, seasonal, or
       self-employed work.                    Employer's name      United Airlines, Inc.

       Occupation may include student         Employer's address   16th Floor - HSCPZ
       or homemaker, if it applies.                                609 Main St.
                                                                   Houston, TX 77002

                                              How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        7,979.57      $              0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      7,979.57            $        0.00




Official Form 106I                                                       Schedule I: Your Income                                                page 1
           Case 19-21802-KCF                Doc 1       Filed 06/13/19 Entered 06/13/19 11:12:10                                 Desc Main
                                                       Document      Page 38 of 66

Debtor 1   Christopher B. Allen
Debtor 2   Beth K. Allen                                                                         Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      7,979.57       $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      1,746.83   $                0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00   $                0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $      1,090.81   $                0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $        126.05   $                0.00
     5e.    Insurance                                                                     5e.        $        411.32   $                0.00
     5f.    Domestic support obligations                                                  5f.        $          0.00   $                0.00
     5g.    Union dues                                                                    5g.        $         43.33   $                0.00
     5h.    Other deductions. Specify: Life                                               5h.+       $         20.80 + $                0.00
            Cancer insurance                                                                         $         31.20   $                0.00
            Accident insurance                                                                       $         20.11   $                0.00
            Critical illness                                                                         $         66.63   $                0.00
            LTD                                                                                      $         15.32   $                0.00
            Short Term Disability                                                                    $         64.39   $                0.00
            Personal accident ins                                                                    $          9.75   $                0.00
            GUL-dependent                                                                            $         26.87   $                0.00
            GUL-employee                                                                             $        185.45   $                0.00
            NJ Unemployment                                                                          $         16.51   $                0.00
            NJ WDPF                                                                                  $          1.08   $                0.00
            NJ SWAF                                                                                  $          0.76   $                0.00
            NJ EE FLI                                                                                $          3.38   $                0.00
            NJ OASDI/EE                                                                              $          7.22   $                0.00
            Travel Eligible Deduction                                                                $         14.56   $                0.00
            Link pay replacement                                                                     $         43.33   $                0.00
            Link pay deduction                                                                       $          2.67   $                0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          3,948.37       $            0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          4,031.20       $            0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $        134.17       $         144.84
     8b. Interest and dividends                                                           8b.        $          0.00       $           0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $            0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $            0.00
     8e. Social Security                                                                  8e.        $              0.00   $            0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $            0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $            0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $            0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            134.17       $           144.84

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              4,165.37 + $          144.84 = $       4,310.21
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.


Official Form 106I                                                     Schedule I: Your Income                                                   page 2
           Case 19-21802-KCF              Doc 1       Filed 06/13/19 Entered 06/13/19 11:12:10                             Desc Main
                                                     Document      Page 39 of 66

Debtor 1   Christopher B. Allen
Debtor 2   Beth K. Allen                                                                    Case number (if known)

     Specify:                                                                                                              11.   +$         0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                12.   $      4,310.21
                                                                                                                                 Combined
                                                                                                                                 monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                  Schedule I: Your Income                                              page 3
         Case 19-21802-KCF                       Doc 1       Filed 06/13/19 Entered 06/13/19 11:12:10                                 Desc Main
                                                            Document      Page 40 of 66


Fill in this information to identify your case:

Debtor 1                 Christopher B. Allen                                                              Check if this is:
                                                                                                               An amended filing
Debtor 2                 Beth K. Allen                                                                         A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY                                                     MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daugther                             16                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             2,285.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            200.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                            745.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
        Case 19-21802-KCF                      Doc 1        Filed 06/13/19 Entered 06/13/19 11:12:10                                       Desc Main
                                                           Document      Page 41 of 66

Debtor 1     Christopher B. Allen
Debtor 2     Beth K. Allen                                                                             Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 275.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 100.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 425.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                900.00
8.    Childcare and children’s education costs                                                 8. $                                                100.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                300.00
10.   Personal care products and services                                                    10. $                                                  50.00
11.   Medical and dental expenses                                                            11. $                                                 200.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 500.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 325.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  304.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Back Taxes                                                                    16. $                                                 300.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  658.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify: Daughter's art supplies                                         17c. $                                                  100.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       7,767.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       7,767.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,310.21
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              7,767.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -3,456.79

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
              Case 19-21802-KCF                        Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                        Desc Main
                                                                     Document      Page 42 of 66




 Fill in this information to identify your case:

 Debtor 1                    Christopher B. Allen
                             First Name                     Middle Name             Last Name

 Debtor 2                    Beth K. Allen
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Christopher B. Allen                                                  X   /s/ Beth K. Allen
              Christopher B. Allen                                                      Beth K. Allen
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       June 13, 2019                                                  Date    June 13, 2019




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
              Case 19-21802-KCF                        Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                               Desc Main
                                                                     Document      Page 43 of 66


 Fill in this information to identify your case:

 Debtor 1                  Christopher B. Allen
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Beth K. Allen
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 For last calendar year:                              Wages, commissions,                       $99,355.00            Wages, commissions,              $121,000.00
 (January 1 to December 31, 2018 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                               Desc Main
                                                                     Document      Page 44 of 66
 Debtor 1      Christopher B. Allen
 Debtor 2      Beth K. Allen                                                                               Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For the calendar year before that:                   Wages, commissions,                      $100,000.00            Wages, commissions,            $144,000.00
 (January 1 to December 31, 2017 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                               Desc Main
                                                                     Document      Page 45 of 66
 Debtor 1      Christopher B. Allen
 Debtor 2      Beth K. Allen                                                                               Case number (if known)


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                                  Desc Main
                                                                     Document      Page 46 of 66
 Debtor 1      Christopher B. Allen
 Debtor 2      Beth K. Allen                                                                               Case number (if known)


      or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your         Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                              lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       I. Mark Cohen Law Group                                        Legal Fees: $3.500.00                                   05/19                       $3,500.00
       1 Executive Drive
       Suite 6
       Tinotn Falls, NJ 07701


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or          Date transfer was
       Address                                                        property transferred                      payments received or debts        made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                           Date Transfer was
                                                                                                                                                  made




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                             Desc Main
                                                                     Document      Page 47 of 66
 Debtor 1      Christopher B. Allen
 Debtor 2      Beth K. Allen                                                                                 Case number (if known)


 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of               Type of account or       Date account was          Last balance
       Address (Number, Street, City, State and ZIP             account number                 instrument               closed, sold,         before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred
       Chase Bank                                               XXXX-                              Checking             09/18                              $0.00
       Red Bank, NJ                                                                                Savings
                                                                                                   Money Market
                                                                                                   Brokerage
                                                                                                   Other

       Citibank                                                 XXXX-                              Checking             09/18                              $0.00
       New York, NJ                                                                                Savings
                                                                                                   Money Market
                                                                                                   Brokerage
                                                                                                   Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?             Describe the contents             Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                           have it?
                                                                      State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access             Describe the contents             Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                   have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                 Describe the property                         Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                                  Desc Main
                                                                     Document      Page 48 of 66
 Debtor 1      Christopher B. Allen
 Debtor 2      Beth K. Allen                                                                                     Case number (if known)


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                   Status of the
       Case Number                                                    Name                                                                            case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                   Employer Identification number
       Address                                                                                                        Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                      Dates business existed
       Dele Music and Sound, LLC                                Audiovisual light and sound                           EIN:
       5 Ocean Avenue
       Highlands, NJ 07732                                                                                            From-To




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
             Case 19-21802-KCF                         Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                               Desc Main
                                                                     Document      Page 49 of 66
 Debtor 1      Christopher B. Allen
 Debtor 2      Beth K. Allen                                                                               Case number (if known)


        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Mother Nature's Beauty, LLC                             Soapmaker                                        EIN:
        5 Ocean Avenue
        Highlands, NJ 07732                                                                                      From-To      2018-Present


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Christopher B. Allen                                                /s/ Beth K. Allen
 Christopher B. Allen                                                    Beth K. Allen
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date      June 13, 2019                                                 Date     June 13, 2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
              Case 19-21802-KCF                        Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                    Desc Main
                                                                     Document      Page 50 of 66

 Fill in this information to identify your case:

 Debtor 1                  Christopher B. Allen
                           First Name                       Middle Name              Last Name

 Debtor 2                  Beth K. Allen
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                     12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Wells Fargo Dealer Services                          Surrender the property.                              No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                 Yes
    Description of        2010 Ford F250 130000 miles                       Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?

 Lessor's name:                                                                                                            No
 Description of leased
 Property:                                                                                                                 Yes

 Lessor's name:                                                                                                            No
 Description of leased
 Property:                                                                                                                 Yes

 Lessor's name:

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                   page 1

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                      Desc Main
                                                                     Document      Page 51 of 66

 Debtor 1      Christopher B. Allen
 Debtor 2      Beth K. Allen                                                                         Case number (if known)


 Description of leased                                                                                                        No
 Property:
                                                                                                                              Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Christopher B. Allen                                                     X /s/ Beth K. Allen
       Christopher B. Allen                                                            Beth K. Allen
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        June 13, 2019                                                    Date    June 13, 2019




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                               page 2

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
              Case 19-21802-KCF                        Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                                Desc Main
                                                                     Document      Page 52 of 66

 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Christopher B. Allen
 Debtor 2              Beth K. Allen                                                                       1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                           2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            District of New Jersey
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                         7,664.69        $              0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                               0.00      $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                               0.00      $              0.00
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                            $   0.00
        Ordinary and necessary operating expenses                        -$   0.00
        Net monthly income from a business, profession, or farm $             0.00 Copy here -> $                       0.00      $              0.00
  6. Net income from rental and other real property
                                                                                 Debtor 1
        Gross receipts (before all deductions)                            $   0.00
        Ordinary and necessary operating expenses                        -$   0.00
        Net monthly income from rental or other real property            $    0.00 Copy here -> $                       0.00      $              0.00
                                                                                                       $                0.00      $              0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
             Case 19-21802-KCF                         Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                                  Desc Main
                                                                     Document      Page 53 of 66
 Debtor 1     Christopher B. Allen
 Debtor 2     Beth K. Allen                                                                               Case number (if known)



                                                                                                      Column A                     Column B
                                                                                                      Debtor 1                     Debtor 2 or
                                                                                                                                   non-filing spouse
  8. Unemployment compensation                                                                        $                  0.00      $             0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                            $                  0.00
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                          $                  0.00      $             0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                        $                  0.00      $             0.00
                                                                                                      $                  0.00      $             0.00
                  Total amounts from separate pages, if any.                                     +    $                  0.00      $             0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                $       7,664.69          +   $           0.00     =    $      7,664.69

                                                                                                                                                     Total current monthly
                                                                                                                                                     income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                 Copy line 11 here=>              $          7,664.69

              Multiply by 12 (the number of months in a year)                                                                                            x 12
       12b. The result is your annual income for this part of the form                                                                    12b. $           91,976.28

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                  NJ

       Fill in the number of people in your household.                        3
       Fill in the median family income for your state and size of household.                                                             13.    $        103,634.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Christopher B. Allen                                               X /s/ Beth K. Allen
                Christopher B. Allen                                                       Beth K. Allen
                Signature of Debtor 1                                                      Signature of Debtor 2
        Date June 13, 2019                                                         Date June 13, 2019
             MM / DD / YYYY                                                             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.



Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                        page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10             Desc Main
                                                                     Document      Page 54 of 66
 Debtor 1    Christopher B. Allen
 Debtor 2    Beth K. Allen                                                                        Case number (if known)




                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 12/01/2018 to 05/31/2019.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Employer : United Airlines, Inc.
Constant income of $7,664.69 per month.*




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                            page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
             Case 19-21802-KCF                         Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                     Desc Main
                                                                     Document      Page 55 of 66
 Debtor 1     Christopher B. Allen
 Debtor 2     Beth K. Allen                                                                       Case number (if known)




*Paycheck Details:

United Airlines, Inc.

            Date                                             Earnings        Overtime             Taxes                    Other    Net Check
            2018-11-01                                       3,205.65             0.00           688.30                  877.52       1,639.83
            2018-11-16                                       2,843.70             0.00           406.17                1,037.85       1,399.68
            2018-11-30                                       3,205.65             0.00           686.42                  874.66       1,644.57
            2018-12-14                                       5,148.78             0.00         1,136.18                1,380.32       2,632.28
            2019-01-02                                       3,205.65             0.00           667.36                1,136.70       1,401.59
            2019-01-16                                       6,397.12             0.00         1,527.25                1,822.28       3,047.59
            2019-01-16                                         150.00             0.00            46.73                    1.05         102.22
            2019-01-17                                         300.00             0.00             0.00                    0.00         300.00
            2019-02-01                                       3,205.65             0.00           667.36                1,035.43       1,502.86
            2019-02-15                                       8,689.34             0.00         2,138.18                1,954.48       4,596.68
            2019-03-01                                       3,205.65             0.00           667.36                1,001.83       1,536.46
            2019-03-15                                       7,310.78             0.00         1,703.93                1,746.31       3,860.54
            2019-04-01                                       3,205.65             0.00           663.06                  947.34       1,595.25
            2019-04-16                                       5,069.54             0.00         1,064.02                1,425.40       2,580.12
            2019-04-17                                         100.00             0.00            31.15                    0.00          68.85

            Totals:                                        55,243.16              0.00        12,093.47              15,241.17       27,908.52




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                     page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10             Desc Main
                                                                     Document      Page 56 of 66
Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                 Desc Main
                                                                     Document      Page 57 of 66


        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                Desc Main
                                                                     Document      Page 58 of 66
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75       administrative fee                                          factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                Desc Main
                                                                     Document      Page 59 of 66
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10                      Desc Main
                                                                     Document      Page 60 of 66
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                         District of New Jersey
             Christopher B. Allen
 In re       Beth K. Allen                                                                                    Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,500.00
             Prior to the filing of this statement I have received                                        $                     3,500.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 13, 2019                                                                /s/ Jonathan Goldsmith Cohen
     Date                                                                         Jonathan Goldsmith Cohen
                                                                                  Signature of Attorney
                                                                                  I. Mark Cohen Law Group
                                                                                  1 Executive Drive
                                                                                  Suite 6
                                                                                  Tinton Falls, NJ 07701
                                                                                  732-741-9500 Fax: 732-741-0226
                                                                                  jgc@imclawgroup.com
                                                                                  Name of law firm




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
            Case 19-21802-KCF                          Doc 1          Filed 06/13/19 Entered 06/13/19 11:12:10    Desc Main
                                                                     Document      Page 61 of 66




                                                               United States Bankruptcy Court
                                                                         District of New Jersey
            Christopher B. Allen
 In re      Beth K. Allen                                                                          Case No.
                                                                                   Debtor(s)       Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: June 13, 2019                                                    /s/ Christopher B. Allen
                                                                        Christopher B. Allen
                                                                        Signature of Debtor

 Date: June 13, 2019                                                    /s/ Beth K. Allen
                                                                        Beth K. Allen
                                                                        Signature of Debtor




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                       Best Case Bankruptcy
    Case 19-21802-KCF   Doc 1    Filed 06/13/19 Entered 06/13/19 11:12:10   Desc Main
                                Document      Page 62 of 66

}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                        Bank Of America
                        4909 Savarese Circle
                        Fl1-908-01-50
                        Tampa, FL 33634


                        Bank Of America
                        Attn: Bankruptcy
                        Po Box 982238
                        El Paso, TX 79998


                        Bank Of America
                        Po Box 982238
                        El Paso, TX 79998

                        Capital One
                        Attn: Bankruptcy
                        Po Box 30285
                        Salt Lake City, UT 84130


                        Capital One
                        Po Box 30281
                        Salt Lake City, UT 84130


                        Chase Card Services
                        Correspondence Dept
                        Po Box 15298
                        Wilmington, DE 19850


                        Chase Card Services
                        P.o. Box 15298
                        Wilmington, DE 19850


                        Chexsystems, Inc.
                        Attn: Customer Relations
                        7805 Hudson Road, Suite 100
                        Woodbury, MN 55125


                        Citibank/Best Buy
                        Attn: Bankruptcy
                        Po Box 790441
                        St. Louis, MO 63179


                        Citibank/Best Buy
                        Po Box 6497
                        Sioux Falls, SD 57117
Case 19-21802-KCF   Doc 1    Filed 06/13/19 Entered 06/13/19 11:12:10   Desc Main
                            Document      Page 63 of 66


                    Citibank/The Home Depot
                    Attn: Recovery/Centralized Bankruptcy
                    Po Box 790034
                    St Louis, MO 63179


                    Citibank/The Home Depot
                    Po Box 6497
                    Sioux Falls, SD 57117


                    Citicards Cbna
                    Citi Bank
                    Po Box 6077
                    Sioux Falls, SD 57117

                    Citicards Cbna
                    Po Box 6217
                    Sioux Falls, SD 57117


                    Comenity Bank/Lane Bryant
                    Attn: Bankruptcy
                    Po Box 182125
                    Columbus, OH 43218


                    Comenity Bank/Lane Bryant
                    Po Box 182789
                    Columbus, OH 43218


                    Credit Control LLC
                    PO Box 31179
                    Tampa, FL 33631


                    Discover Bank
                    6500 New Albany Rd.
                    New Albany, OH 43054


                    Discover Financial
                    Po Box 3025
                    New Albany, OH 43054


                    Discover Financial
                    Pob 15316
                    Wilmington, DE 19850
Case 19-21802-KCF   Doc 1    Filed 06/13/19 Entered 06/13/19 11:12:10   Desc Main
                            Document      Page 64 of 66


                    Elan Financial Service
                    Attn: Bankruptcy
                    4801 Frederica Street
                    Owensboro, KY 42301


                    Elan Financial Service
                    Cb Disputes
                    Saint Louis, MO 63166


                    Equifax
                    PO Box 740241
                    Atlanta, GA 30374


                    Internal Revenue Service
                    P.O. Box 7346
                    Philadelphia, PA 19101-7346


                    Jersey Shore Endodontics
                    1300 Route 35
                    Plaza One
                    Asbury Park, NJ 07712


                    Laparscopic Specialty Surgical Assoc.
                    10 Industrial Way East
                    Suite 104
                    Eatontown, NJ 07724-3332


                    Monmouth Medical Center
                    300 Second Avenue
                    Long Branch, NJ 07740


                    Monmouth Medical Center
                    Payment Processinf Center
                    P.O. Box 29962
                    New York, NY 10087


                    Quest Diagnostics
                    P.O. Box 7308
                    Hollister, MO 65673-7308


                    Radius Global Solutions
                    P.O. Box 390905
                    Minneapolis, MN 55439
Case 19-21802-KCF   Doc 1    Filed 06/13/19 Entered 06/13/19 11:12:10   Desc Main
                            Document      Page 65 of 66


                    syncb/hdc
                    PO Box 129
                    Linden, MI 48451


                    Syncb/hdceap
                    Attn: Bankruptcy
                    Po Box 965060
                    Orlando, FL 32896


                    Syncb/hdceap
                    C/o Po Box 965036
                    Orlando, FL 32896


                    Synchrony Bank/Care Credit
                    Attn: Bankruptcy Dept
                    Po Box 965061
                    Orlando, FL 32896


                    Synchrony Bank/Care Credit
                    C/o Po Box 965036
                    Orlando, FL 32896


                    Trans Union Corporation
                    Public Records Department
                    555 West Adams St.
                    Chicago, IL 60661


                    US Bank/RMS CC
                    Attn: Bankruptcy
                    Po Box 5229
                    Cincinnati, OH 45201


                    US Bank/RMS CC
                    4325 17th Ave S
                    Fargo, ND 58125


                    Visa Dept Store National Bank/Macy's
                    Attn: Bankruptcy
                    Po Box 8053
                    Mason, OH 45040


                    Visa Dept Store National Bank/Macy's
                    Po Box 8218
                    Mason, OH 45040
Case 19-21802-KCF   Doc 1    Filed 06/13/19 Entered 06/13/19 11:12:10   Desc Main
                            Document      Page 66 of 66


                    Wells Fargo Dealer Services
                    Po Box 1697
                    Winterville, NC 28590


                    Oceanfirst Bank Na
                    975 Hooper Ave
                    Toms River, NJ 08753


                    SBA Loan (insert



                    Small Business Association
                    2 North 20th St., Suite 320
                    Birmingham, AL 35203


                    Wells Fargo Dealer Services
                    Attn: Bankruptcy
                    Po Box 19657
                    Irvine, CA 92623
